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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
RALPH HOLMES, ef al., on behalf of themselves)
and all others similarly situated, )
)
Plaintiffs, ) Case No. 11 C 2961
)
Vv. ) Honorable Marvin E. Aspen
)
JOHN BALDWIN, Acting Director of Illinois ) Magistrate Judge Young B. Kim
Department of Corrections; ef al., )
)
Defendants. )

ORDER

On April 23, 2018, the Court received a Joint Motion for Preliminary Approval of Class
Settlement Agreement, which attached the final copy of the agreement between parties and a
proposed notice plan to the class. The Court has reviewed the agreement and makes a preliminary
determination that this is a fair, adequate and reasonable resolution of this action. The Court also
finds that the proposed class notice plan adequately and appropriately provides the necessary
information about this agreement to the class.

The Court enters the following schedule. The Illinois Department of Corrections is to
provide the notice to the Plaintiff class members pursuant to the Notice Plan (attached to this Order
as Exhibit A) by May 26, 2018. The Notices shall be in the form attached to this order as Exhibits
B1 and B2. Any objections to the settlement should be sent to Plaintiffs’ counsel by June 25, 2018.
A fairness hearing is set for July 26, 2018 at 10:30 a.m. in Courtroom 2568.

ENTERED

APR 3.9 2018 Ce

Marvin E. Aspen
United States District Judge

Cad

 

 
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EXHIBIT A

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
RALPH HOLMES, et al., on behalf of themselves )
and all others similarly situated, )
)
Plaintiffs, ) Case No. 11 C 2961
)
v. ) Honorable Marvin E. Aspen
)
JOHN BALDWIN, Acting Director of Illinois ) Magistrate Judge Young B. Kim
Department of Corrections; et al., )
)
Defendants. )

NOTICE PLAN
In furtherance of their agreement to see this Court’s approval of the Parties” proposed
Settlement Agreement, Plaintiff Ralph Holmes and the other named Plaintiffs, on behalf of
themselves and the Class certified by the Court, and Defendant John Baldwin (collectively, the
“Parties”), propose that the notices more fully described below be approved by the Court as fully

comporting with the requirements of Rule 23 of the Federal Rules of Civil Procedure and due

process:
ly Defendant will provide, via personal delivery, notice set forth in Exhibit B-1 to all
current IDOC inmates known by either Party to be deaf or hard of hearing. The
Parties will work in collaboration to identify this list of possible class members.
Defendant will effectuate such delivery by no later than May 26, 2018.
vs Defendant will post notice in the form set forth in Exhibit B-2 in the law library

and each living unit in each IDOC facility. Defendant will post notices by no later

than May 26, 2018.

 
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Class Counsel will create a video translating the notice set forth in Exhibit B-1 into

American Sign Language, and after Department approval, the video shall be

shown to all class members known by either Party to use American Sign

Language. The parties will work in collaboration to identify this list of possible

class members. Defendant will effectuate such notice by no later than May 26,

2018.

Dated: April 23, 2018

Barry C. Taylor

Amy F. Peterson

Laura J. Miller

Rachel M. Weisberg

Equip for Equality

20 North Michigan Avenue, Suite 300
Chicago, IL 60602

Telephone: (312) 341-0022
rweisberg@equipforequality.org

Howard A. Rosenblum

National Association of the Deaf
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Silver Spring, MD 20910
Telephone: (301) 587-1788
howard.rosenblum@nad.org

Respectfully submitted,

/s/ Robert L. Michels

Robert L. Michels

Kate Watson Moss
Jennifer James

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Alan 8. Mills

Nicole Schult

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Counsel for Plaintiffs

/s/ Michael Arnold

Michael Arnold

Assistant Attorney General
General Law Bureau

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marmold@atg.state.il.us

Counsel for Defendant

 
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EXHIBIT B-1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
RALPH HOLMES, et al., on behalf of themselves)
and all others similarly situated, )
)
Plaintiffs, ) Case No. 11 C 2961
)
Vv. ) Honorable Marvin E. Aspen
)
JOHN BALDWIN, Acting Director of Illinois ) Magistrate Judge Young B. Kim
Department of Corrections; ef al. )
)
Defendants. )

LEGAL NOTICE OF PROPOSED CLASS SETTLEMENT AND HEARING
If you are deaf or hard of hearing, this settlement may affect your rights. Please read.

This is a notice about a proposed settlement that will change how the Illinois Department of
Corrections (IDOC) helps deaf and hard of hearing inmates communicate in prison.

This notice tells you about (1) the lawsuit; (2) who is impacted by the settlement (the
“class”); (3) the proposed settlement agreement; (4) what to do if you do not like the
agreement (how to object); and (5) how to get more information.

1. The Lawsuit

In 2011, a group of deaf and hard of hearing inmates filed a lawsuit against the IDOC called
Holmes v. Baldwin. In the lawsuit, these inmates said that they needed “accommodations” or
“auxiliary aids or services” to participate in IDOC programs, and that [DOC did not give them
what they needed. For example, these inmates said that they needed sign language interpreters,
hearing aids, video phones, closed captioning, a better alert system, and more. The lawsuit filed
by the inmates does not ask for money. Instead, the lawsuit asks the Court to order IDOC to
provide these things to deaf and hard of hearing inmates so they can communicate effectively
while in IDOC custody. There is now a possible settlement that will resolve this lawsuit.

ae Who Is Impacted By The Settlement (The “Class”)
This settlement helps IDOC inmates who are deaf or hard of hearing.

The deaf and hard of hearing inmates who will benefit from the settlement are called the
“settlement class.”

You are part of the “settlement class” if you:

 
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e Are in prison in an IDOC facility or will be in the future; and

e Cannot hear in one or both ears enough to understand someone who is speaking without a
hearing aid or other hearing device; and

e Need devices or services to help you communicate (examples include hearing aids, sign
language interpreters, telephone amplification, video phones or TTYs, closed captioning
on your TV).

3. The Proposed Agreement

In the settlement, IDOC has agreed to help deaf and hard of hearing inmates in a number of
ways. These ways include:

A.

Hearing Screenings. IDOC will use experts and testing to make sure it knows who is
deaf and hard of hearing. It will do two types of hearing tests. IDOC will do a test for
hearing loss for three groups of people: (1) everyone first coming to IDOC during
intake; (2) anyone who says they think they have hearing loss during physical exams;
and (3) anyone who asks for it or asks for a hearing aid.

Audiological Evaluations. IDOC will send people who need more testing to an
audiologist. The audiologist will decide if the person needs hearing aids.

Meeting with Communication Specialists. To determine what deaf and hard of
hearing inmates need to communicate effectively, [DOC will now use specialists who
know how to test communication skills of deaf and hard of hearing inmates. These
specialists will decide what IDOC should do to help the inmate communicate in
prison. For example, the specialist will decide if the inmate needs accommodations
like a sign language interpreter or to communicate in a quiet room. The specialist will
decide this for every [DOC program, including medical appointments, classes,
meetings and jobs. The name of this test is an “Auxiliary Aids and Services
Assessment.” Everyone who IDOC knows is deaf or hard of hearing will meet with
these specialists. Everyone who is found to be deaf or hard of hearing will meet with
these specialists.

 

Communication Plan. The specialist’s findings about what each deaf and hard of
hearing inmate needs to communicate effectively will be written in a Communication
Plan. Each inmate’s Communication Plan will be placed in their medical file and on
a centralized database.

Providing Accommodations and Auxiliary Aids and Services. IDOC will provide
deaf and hard of hearing inmates with the accommodations and auxiliary aids and
services listed in their Communication Plan. There are limited circumstances when
IDOC can decide not to provide something written in the Communication Plan. If
IDOC can show that the auxiliary aid or service would present a safety or security

 
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concern, or cause an “undue financial burden,” as defined by the ADA, it may deny
the accommodation. But the decision to deny the accommodation must be made by
the head of IDOC or his or her designee. Also, if [DOC denies an accommodation
because it would cause an undue financial burden or pose a safety or security risk,
IDOC must take the next best action that would not pose an undue financial burden or
present a safety or security risk.

F. Accommodations Before Auxiliary Aids and Services Assessment. If an inmate needs
an accommodation before his or her Auxiliary Aids and Services Assessment is
finished, IDOC will provide the accommodation if the inmate asks for it, it 1s clear to
IDOC that the inmate needs the accommodation, and IDOC is able to provide it.

IDOC has agreed that it is generally able to provide accommodations like interpreters
and video phones.

G. Primary Consideration. When determining what auxiliary aid and service to provide,
the specialist and IDOC will give primary consideration to the accommodation
requests of the deaf or hard of hearing inmate.

H. Sign Language Interpreters. If an inmate’s primary language is American Sign
Language, IDOC will provide interpreters for important programs, called “high stakes
interactions.” High stakes interactions include most medical and mental health care
and appointments, disciplinary investigations and hearings, educational and
vocational programs with a verbal component, transfer and classification meetings,
and meetings with IDOC to discuss accommodations.

I. Hearing Aids. Deaf and hard of hearing inmates will be given the number of hearing
aids recommended by the audiologist. IDOC will also promptly provide hearing aids
and batteries and promptly send broken hearing aids for repair.

J. Video Phones, TTYs, and Amplified Phones. IDOC will make sure that every facility
that has a deaf or hard of hearing inmate will have at least one video phone, two
TTYs or equivalent technologies, and two telephones that allow for amplification.
Deaf and hard of hearing inmates will not pay more than other inmates making and
receiving calls, and will have equal access to telephones, except that in some
facilities, if the communication equipment is not in the cell house, IDOC may require
appointments during the same time as others may use the telephone.

 

K. Televisions. [DOC will make sure that all televisions already owned have open or
closed captioning, and will only buy new televisions with open or closed captioning.
IDOC also make sure all movies played are available in open or closed captioning.
IDOC will provide, at no cost, headphones that are large enough to fit over the ears of
deaf and hard of hearing inmates to allow them to hear television programming.

L. Tactile Notification System. The IDOC will provide a safe and effective tactile
notification system that will tell deaf and hard of hearing inmates about events like

 

 
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the arrival of visitors, meals, showers, yard time, doctor appointments, evacuations
and emergencies.

. Video Remote Interpreting for Medical Appointments. IDOC will make sure that
every facility that has a deaf or hard of hearing inmate will have a Video Remote
Interpreting (VRI) for communication about medical issues, and that the VRI will
work and will meet the Department of Justice’s requirements.

Orientation. [DOC will make sure that its orientation is accessible. It will use simple
English in its written materials, and will play videos with closed captioning and in
American Sign Language. If IDOC knows that an inmate is deaf or hard of hearing, it
will meet separately with the inmate to review all materials and answer questions. If
the inmate uses American Sign Language, IDOC will provide an interpreter for this
separate meeting.

Employment. IDOC will not deny prison employment to any otherwise qualified deaf
or hard of hearing inmate who can perform the essential functions of the position with
or without a reasonable accommodation.

Hand Restraint Policy. IDOC may allow deaf and hard of hearing inmates to remove
their hand restraints when they need to communicate through American Sign

Language.

Identification Card. IDOC will continue to give deaf and hard of hearing inmates an
identification card that says the inmate is deaf or hard of hearing, and inmates may
continue to say they do not want this ID card.

Housing. IDOC will not transfer a deaf or hard of hearing inmates to a different
facility with a higher security level or different programming just because of their
disability. IDOC will consider requests for deaf and hard of hearing inmates to be
housed with another deaf or hard of hearing inmate.

Centralized Database. [DOC will use, and regularly update, a centralized database to
that will include information about every deaf and hard of hearing inmate’s
accommodations.

Training. IDOC staff will be trained on a number of topics related to deaf and hard of
hearing inmates, including communication needs, using interpreters and using
telephone technologies.

 

Rights Materials. IDOC will update its orientation manuals to add information about
the rights of deaf and hard of hearing inmates, and will give this information to all
current and future deaf and hard of hearing inmates.

 
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V. Monitoring and Enforcement. The Court and the attorneys representing the deaf and
hard of hearing inmates (also called “Class Counsel”) will monitor this settlement
with IDOC to make sure that these changes are made. IDOC has to send Class
Counsel documents and answer questions about what it is doing to meet the
requirements of the settlement. If Class Counsel believes [DOC has not met its
obligations under the settlement, the Court will resolve the dispute.

 

W. Attorneys’ Fees and Costs. The lawyers who have handled the case for the deaf and
hard of hearing inmates are called “Class Counsel.” These lawyers have worked on
this case for over 8 years and will continue working on the case for the next 4 years,
to monitor IDOC and make sure that IDOC does what it is supposed to do under the
settlement. As part of the settlement, IDOC will pay $1,500,000.00 to Class Counsel.
This amount will help offset the costs the Class Counsel has spent on this case as well
as Class Counsel’s attorneys’ fees for the past 8 years and the next 4 years. Class
members do not have to pay anything to Class Counsel.

X. Termination. The Court will keep this case open to oversee, supervise and enforce the
terms of the Agreement for at least two, but no more than four years, following
approval of the Agreement. IDOC can ask the Court to stop monitoring the agreement
if it shows that it has met any particular term of the Agreement before the four year
time period.

4. What To Do If You Do Not Like The Agreement (How to Object)

If you do not like the agreement, you can tell the lawyers and the judge. This is called sending an
objection. To send an objection, mail a letter saying why you do not like the agreement. The
judge will think about the objections before deciding whether the agreement is okay. If you have
an attorney, you may talk to your attorney about this agreement.

Mail the letter saying why you do not like the agreement to Holmes v. Baldwin Objections, c/o
Equip for Equality, 20 North Michigan Avenue, Suite 300, Chicago, IL 60602. The lawsuits

must get your objection by June 25, 2018. Please be specific about why you do not like the
agreement and do not write more than 15 pages.

The judge will hold a hearing to decide whether to approve the agreement. The hearing will take
place on July 26, 2018 at 10:30 A.M., in Courtroom 2568 of the Everett McKinley Dirksen
United States Courthouse at 219 South Dearborn Street, Chicago, IL.

If you like the agreement, you do not have to do anything.

5. How To Get More Information

If you would like more information, you can contact the lawyers who represent the class. They
can send you a copy of the Settlement Agreement and answer your questions.

e Robert Michels, Winston & Strawn, LLP, 35 W. Wacker Drive, Chicago, IL 60601-9703

 
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e Alan Mills, Uptown People's Law Center, 4413 N. Sheridan, Chicago, IL 60640
e Barry C. Taylor, Equip for Equality, 20 N. Michigan Ave., Suite 300, Chicago, IL 60602

 
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LEGAL NOTICE OF THE PROPOSED SETTLEMENT OF A LAWSUIT
BROUGHT ON BEHALF OF DEAF AND HARD OF HEARING INMATES

EXHIBIT B-2

  

If you are deaf or hard of hearing, this Legal Notice may affect your rights. Please read.

This is a Legal Notice about a proposed settlement of a lawsuit. The lawsuit was brought
to benefit deaf and hard of hearing inmates.

The settlement will change how the Illinois prisons provide deaf and hard of hearing
inmates with ways to talk with other people.

WHAT IS THIS ABOUT?

In 2011, a group of deaf and hard of hearing inmates sued the Illinois prisons (called the “Illinois
Department of Corrections” or “IDOC”). The name of the court case is Holmes v. Baldwin.
These inmates said that they need things like interpreters, captioning, and hearing aids while in
prison, but IDOC does not give them what they need. These inmates sued to get a court to
order IDOC to give them those things. There was no request for money in this court case. Both
sides have now agreed to a settlement. The settlement will end the case if it is approved by the

court.

WHO IS PART OF THE SETTLEMENT?

The group of inmates who will benefit from this settlement is called the settlement “Class.” You
are part of that group if:

You are in prison in an Illinois prison or will go to an Illinois prison in the near future; and

e Without a hearing aid or other hearing device, you cannot hear in one or both ears enough
to understand someone who is speaking; and

e To help you talk with hearing people, you need devices or services (such as hearing aids,
sign language interpreters, amplified telephones, videophones or TTYs, closed captioning
on your TY).

WHAT IS THE AGREEMENT?

In the settlement, IDOC has agreed to help deaf and hard of hearing inmates in a number of
ways. Here are some of the most important parts of the settlement:

e Hearing Tests. IDOC will give more hearing tests so that it knows who is deaf and hard of
hearing. IDOC will send people who need more testing to an audiologist.

e Communication Specialists. IDOC will use specialists who know how to test communication
skills of deaf and hard of hearing inmates. These specialists will decide what IDOC should
do to help the inmate communicate in prison. For example, the specialist will decide when
the inmate needs accommodations like a hearing aid or a sign language interpreter.

 

 
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Communication Plan and Providing Accommodations. What the “communication specialist”
finds is the best way for you to talk with people may become your “ADA Communication
Plan’ if it is possible.

Hearing Aids. IDOC may give you one or two hearing aids if the audiologist says you need
them. If you need new batteries, IDOC must give them to you soon without a long wait. Also,
if your hearing aid breaks, the IDOC must send it for repair without a long wait.

Sign Language Interpreters. If you communicate in American Sign Language (ASL), then
IDOC needs to provide you with sign language interpreters for important programs, such as:
most doctor and counselor appointments, disciplinary investigations and hearings, classes,
work programs that include talking with others, and others.

 

Video Phones, TTYs, and Amplified Phones. Every Illinois prison with a deaf or hard of
hearing inmate must have at least one videophone (VP), two TTYs, and two amplified
telephones.

Alerts for Fires and Other Things. Every Illinois prison that has a deaf or hard of hearing
inmate must have a safe way to notify you about fires, emergencies, evacuations, meals,
showers, yard time, your doctor or counselor appointments, and that your visitors are here to
see you.

 

VRI. The Illinois prisons must also give you Video Remote Interpreting (VRI) for doctor
appointments when no sign language interpreter can come to the prison for your meeting
with the doctor.

Information about Prison Rules. For every new inmate who arrives at a prison from court,
the Illinois prisons must give those inmates information and rules about what they can or
cannot do while in prison. Illinois prisons must give you this information in ASL or with
captioning on the videos. Illinois prisons must also meet with you to explain the rules to
make sure you understand. Illinois prisons must also explain your rights to you.

 

Work. All deaf and hard of hearing inmates can ask to work, and Illinois prisons must give
you the same chance to work as any other inmate.

Hand Restraint. If your hands are handcuffed or restrained, you cannot talk in ASL. Illinois
prisons may remove your handcuffs or hand restraints to let you talk in ASL.

ID Card. You can ask for an ID card that shows you are deaf or hard of hearing. You can
also ask for an ID card that does not say you are deaf or hard of hearing.

Where You Will Go. You can ask to be in a prison with other deaf or hard of hearing
inmates. IDOC can decide which prison you go to, but will consider your request. IDOC
cannot move you to a prison with higher security just because you are deaf or hard of
hearing.

Monitoring, Enforcement, Attorneys’ Fees. To make sure you are protected, the judge and
the lawyers who work for you will watch the IDOC to make sure you get your rights and
services. If the lawyers think that IDOC has not given you your rights and services, then the
lawyers will ask the judge for help. The lawyers worked for over 8 years to get IDOC to

 

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agree to give these rights and services to deaf and hard of hearing inmates. The judge will
order IDOC to pay $1,500,000.00 to the lawyers for their work and the costs they have spent
over the last 8 years, and to watch the IDOC for 4 more years. You do not have to pay any
money for this case.

CAN | DISAGREE?

If you do not like what the agreement, and you want something different, you can tell the
lawyers and the judge by sending an “Objection.” If you want to do this, then you need to write a
letter (no more than 15 pages) saying why you do not like this agreement and mail the letter to:
Holmes v. Baldwin Objections, c/o Equip for Equality, 20 North Michigan Avenue, Suite 300,
Chicago, IL 60602. If you want to send this Objection, you need to make sure the lawyers get
your Objection by June 25, 2018.

The judge will consider all objections and then decide yes or no for this agreement. The judge
will have a hearing on July 26, 2018 at 10:30 A.M., in Courtroom 2568 of the Everett McKinley
Dirksen United States Courthouse at 219 South Dearborn Street, Chicago, IL.

HOW DO | GET MORE INFORMATION?

If you want more information, you can contact the lawyers who work for the deaf and hard of
hearing inmates. They can answer your questions. They also can send you a copy of the
Settlement Agreement. You can write to any of these lawyers:

e Robert Michels, Winston & Strawn LLP, 35 W. Wacker Drive, Chicago, IL 60601

e Alan Mills, Uptown People's Law Center, 4413 N. Sheridan, Chicago, IL 60640

e Barry Taylor, Equip for Equality, 20 N. Michigan Ave., Suite 300, Chicago, IL 60602

 
